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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      April 6, 2022

BY ECF

The Honorable Analisa Torres                          The Honorable Alvin K. Hellerstein
United States District Judge                          United States District Judge
Southern District of New York                         Southern District of New York
500 Pearl Street                                      500 Pearl Street
New York, New York 10007                              New York, New York 10007

       Re:     United States v. Brian Kolfage, 20 Cr. 412 (AT)
               United States v. Brian Kolfage, 22 Cr. 201 (AKH)

Dear Judge Torres and Judge Hellerstein:

       The Government respectfully submits this letter regarding the two above-referenced cases
pending before the Court.

       On March 31, 2022, defendant Brian Kolfage accepted and executed a plea agreement
extended by the United States Attorney’s Office for the Southern District of New York, in
coordination with the United States Attorney’s Office for the Northern District of Florida, in which
he agreed to plead guilty in the Southern District of New York to (1) Count One of
Indictment 20 Cr. 412 (AT) and (2) Counts One through Three of Superseding
Indictment 21 Cr. 29, filed in the Northern District of Florida, which, upon its transfer pursuant to
Rule 20 of the Federal Rules of Criminal Procedure, has now been designated as
Indictment 22 Cr. 201 (AKH) in the Southern District of New York. A copy of the fully executed
plea agreement was submitted to Judge Torres on March 31, 2022. Judge Torres has scheduled a
change of plea hearing for April 21, 2022, at 2:00 p.m.

       The Government respectfully submits this letter to inform the Court that the charges in
Indictment 20 Cr. 412 (AT) and Indictment 22 Cr. 201 (AKH) are related and that the parties
entered into the plea agreement in contemplation that both cases likely would be consolidated for
the purposes of a change of plea hearing and sentencing.
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                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney

                                       By:       /s/
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                                             Nicolas Roos
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                                             Southern District of New York
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cc:   César de Castro, Esq. (by ECF)
